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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.           CV 24-8377 FMO (DTBx)                              Date     October 2, 2024
 Title              The Babylon Bee, LLC et al v. Feldstein Soto, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                           None
                Deputy Clerk                    Court Reporter / Recorder              Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                      None Present
 Proceedings:               (In Chambers) Order Re: Briefing Re: Stay of Proceedings

       Having reviewed The Babylon Bee, LLC and Kelly Chang Rickert’s (collectively, “plaintiffs”)
Application for Temporary Restraining Order, or Alternative Motion for Expedited Preliminary
Injunction (Dkt. 12, “Application”), the court finds it prudent to order the parties to brief why this
case should not be stayed given the case filed on September 17, 2024, in the Eastern District of
California, see Kohls v. Bonta et al., Case No. CV 24-2527 (E.D. Cal. 2024), which involves
substantially similar issues and parties. Accordingly, IT IS ORDERED THAT:

        1. Plaintiffs shall file a brief explaining why the court should not stay this proceeding no
later than October 7, 2024.

         2. Defendants shall file a response no later than October 15, 2024.

         3. Plaintiffs shall file a reply no later than October 18, 2024.

         4. This case is stayed pending a ruling on the stay issue.




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                                                         Initials of Preparer           vdr



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